                                                                   Case 2:23-bk-10990-SK            Doc 157 Filed 05/25/23 Entered 05/25/23 13:49:48               Desc
                                                                                                     Main Document     Page 1 of 4


                                                                   1   Jeffrey N. Pomerantz (State Bar No. 143717)
                                                                       Jeffrey W. Dulberg (State Bar No. 181200)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail: jpomerantz@pszjlaw.com
                                                                   5            jdulberg@pszjlaw.com

                                                                   6   [Proposed] Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   7                                 UNITED STATES BANKRUPTCY COURT
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                   8                                       LOS ANGELES DIVISION

                                                                   9
                                                                       In re:                                                 Case No. 2:23-bk-10990-SK
                                                                  10
                                                                       LESLIE KLEIN,                                          Chapter 11
                                                                  11
                                                                                                Debtor.                       NOTICE OF APPEARANCE AND
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                          REQUEST FOR SERVICE PURSUANT
                                                                                                                              TO FED. R. BANKR. P. 2002
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15            PLEASE TAKE NOTICE that Pachulski Stang Ziehl & Jones LLP, proposed counsel

                                                                  16   (“Counsel”) to Bradley D. Sharp, the duly appointed, authorized and acting chapter 11 trustee of the

                                                                  17   estate of Leslie Klein (the “Chapter 11 Trustee”), hereby enters its appearance pursuant to

                                                                  18   section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9010(b) of

                                                                  19   the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests that it be added

                                                                  20   to the official mailing matrix and service lists in the above-captioned case. Counsel requests,

                                                                  21   pursuant to Bankruptcy Rules 2002, 3017, and 9007 and section 1109(b) of the Bankruptcy Code,

                                                                  22   that copies of all notices and pleadings given or required to be given in this chapter 11 case and

                                                                  23   copies of all papers served or required to be served in this chapter 11 case, including but not limited

                                                                  24   to, all notices (including those required by Bankruptcy Rule 2002), reports, pleadings, motions,

                                                                  25   applications, lists, schedules, statements, chapter 11 plans, disclosure statements, and all other

                                                                  26   matters arising herein or in any related adversary proceeding, be given and served upon the

                                                                  27   Committee through service upon Counsel, at the address, telephone, facsimile number, and email

                                                                  28   addresses set forth below:


                                                                       DOCS_LA:349227.1 68700/001
                                                                   Case 2:23-bk-10990-SK            Doc 157 Filed 05/25/23 Entered 05/25/23 13:49:48             Desc
                                                                                                     Main Document     Page 2 of 4


                                                                   1                                      Jeffrey N. Pomerantz, Esq.
                                                                                                          Jeffrey W. Dulberg, Esq.
                                                                   2                                      Pachulski Stang Ziehl & Jones LLP
                                                                                                          10100 Santa Monica Blvd., 13th Floor
                                                                   3                                      Los Angeles, CA 90067-4100
                                                                                                          Telephone: (310) 277-6910
                                                                   4                                      Facsimile: (310) 201-0760
                                                                                                          Email:jpomerantz@pszjlaw.com
                                                                   5                                             jdulberg@pszjlaw.com

                                                                   6           PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the Bankruptcy

                                                                   7   Code, the foregoing demand includes not only the notices and papers referred to in the Bankruptcy

                                                                   8   Rules specified above, but also includes, without limitation, orders and notices of any application,

                                                                   9   complaint or demand, motion, petition, pleading or request, and answering or reply papers filed in

                                                                  10   this chapter 11 case, whether formal or informal, written or oral, and whether served, transmitted, or

                                                                  11   conveyed by mail, hand delivery, telephone, email, facsimile, or otherwise filed or made with regard
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   to the above-captioned case and proceedings therein.
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Dated: May 25, 2023                          PACHULSKI STANG ZIEHL & JONES LLP
                                           ATTORNEYS AT LAW




                                                                  14                                                /s/ Jeffrey W. Dulberg
                                                                                                                    Jeffrey N. Pomerantz
                                                                  15                                                Jeffrey W. Dulberg
                                                                                                                    10100 Santa Monica Blvd., 13th Floor
                                                                  16                                                Los Angeles, CA 90067-4100
                                                                                                                    Telephone: (310) 277-6910
                                                                  17                                                Facsimile: (310) 201-0760
                                                                                                                    Email: jpomerantz@pszjlaw.com
                                                                  18                                                         jdulberg@pszjlaw.com
                                                                  19                                                [Proposed] Counsel to Bradley D. Sharp, Chapter 11
                                                                                                                    Trustee
                                                                  20

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                                                                   Case 2:23-bk-10990-SK                      Doc 157 Filed 05/25/23 Entered 05/25/23 13:49:48                                              Desc
                                                                                                               Main Document     Page 3 of 4


                                                                   1                                         PROOF OF SERVICE OF DOCUMENT
                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is: 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067
                                                                   3

                                                                   4   A true and correct copy of the foregoing document entitled (specify):

                                                                   5                    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
                                                                                                  PURSUANT TO FED. R. BANKR. P. 2002
                                                                   6   will be served or was served (a) on the judge in chambers in the form and manner required by LBR
                                                                       5005-2(d); and (b) in the manner stated below:
                                                                   7
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                   8   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
                                                                       via NEF and hyperlink to the document. On (date) May 25, 2023, I checked the CM/ECF docket for
                                                                   9   this bankruptcy case or adversary proceeding and determined that the following persons are on the
                                                                       Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                  10
                                                                                                                                                    Service information continued on attached page
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       2. SERVED BY UNITED STATES MAIL:
                                                                  12   On (date) May 25, 2023, I served the following persons and/or entities at the last known addresses
                                                                       in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
                                        LOS ANGELES, CALIFORNIA




                                                                  13   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
                                           ATTORNEYS AT LAW




                                                                       Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
                                                                  14   than 24 hours after the document is filed.
                                                                  15                                                                             Service information continued on attached page
                                                                  16   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
                                                                       TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
                                                                  17   F.R.Civ.P. 5 and/or controlling LBR, on _____________ (date), I served the following persons
                                                                       and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
                                                                  18   such service method), by facsimile transmission and/or email as follows. Listing the judge here
                                                                       constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
                                                                  19   no later than 24 hours after the document is filed.
                                                                  20                                                                             Service information continued on attached page
                                                                  21   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
                                                                       correct.
                                                                  22
                                                                       May 25, 2023                    Nancy H. Brown                                                /s/ Nancy H. Brown
                                                                  23
                                                                       Date                              Printed Name                                                        Signature
                                                                  24

                                                                  25

                                                                  26

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                                                                  28               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                       June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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                                                                   Case 2:23-bk-10990-SK                      Doc 157 Filed 05/25/23 Entered 05/25/23 13:49:48                                              Desc
                                                                                                               Main Document     Page 4 of 4


                                                                   1   In re: LESLIE KLEIN
                                                                       Case No. 2:23-bk-10990-SK
                                                                   2
                                                                       1.     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)
                                                                   3
                                                                                  Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
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                                                                                   yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
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                                                                  12               C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
                                                                                  Bradley D. Sharp (TR) bsharp@dsi.biz
                                        LOS ANGELES, CALIFORNIA




                                                                  13              Nikko Salvatore Stevens nikko@cym.law
                                           ATTORNEYS AT LAW




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                                                                  14              Gary Tokumori gtokumori@pmcos.com
                                                                                  United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
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                                                                                  Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com
                                                                  18

                                                                  19   2. SERVED BY UNITED STATES MAIL:

                                                                  20        Eric J Olson                                   Brian A. Procel                                  Nathan Talei
                                                                            EJOlson Law                                    PROCEL LAW PC                                    Oldman, Sallus & Gold, L.L.P.
                                                                  21        100 W Broadway, #990                           401 Wilshire Blvd., 12th floor                   16133 Ventura Blvd., PH-A
                                                                            Glendale, CA 91210                             Santa Monica, CA 90401                           Encino, CA 91436
                                                                  22
                                                                            Brett Wasserman
                                                                  23        Shumaker Mallory, LLP
                                                                            280 S. Beverly Dr., Ste. 505
                                                                  24        Beverly Hills, CA 90212

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                                                                  28               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                       June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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